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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ROBERT JAHODA,
                                                         Lead Case No. 2:22-cv-00668-AJS
               Plaintiff,

        v.

 YNAP CORPORATION,

               Defendant.


 ROBERT JAHODA,
                                                         Member Case No. 2:22-cv-00870-AJS
               Plaintiff,

        v.

 CALIFORNIA PAK, LLC,

               Defendant.


                                 NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Robert Jahoda hereby voluntarily

dismisses with prejudice his claims against Defendant California Pak, LLC.


                                           Respectfully submitted,

                                            /s/ R. Bruce Carlson
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